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                              UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                       FORT LAUDERDALE DIVISION

 UNITED STATES OF AMERICA                                       §      JUDGMENT IN A CRIMINAL CASE
                                                                §
 v.                                                             §
                                                                §      Case Number: 0:23-CR-60118-RAR(2)
 BLAKE KELLY                                                    §      USM Number: 72422-510
                                                                §
                                                                §      Counsel for Defendant: Jean-Pierre Gilbert
                                                                §      Counsel for United States: Roger Cruz


THE DEFENDANT:
 ☒ pleaded guilty to Counts                           1 and 5 of the Indictment

The defendant is adjudicated guilty of these offenses:

 Title & Section / Nature of Offense                                                      Offense Ended         Count

 18 U.S.C. § 1349 - Conspiracy to commit wire fraud (one object)                          03/30/2020            1

 18 U.S.C. § 1028A(a)(1) - Aggravated Identity Theft                                      03/30/2020            5


The Defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.

 ☒ Remaining counts are dismissed on the motion of the United States

It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed
by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
Attorney of material changes in economic circumstances.

                                                         March 13, 2024
                                                         Date of Imposition of Judgment




                                                         Signature of Judge

                                                         RODOLFO A. RUIZ II
                                                         UNITED STATES DISTRICT JUDGE
                                                         Name and Title of Judge

                                                         March 13, 2024
                                                         Date
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DEFENDANT:                BLAKE KELLY
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                                                        IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 13 months. This term consists of 6 months as to Count 1 and a consecutive term of 7 months as to
Count 5.

 ☒ The Court makes the following recommendations to the Bureau of Prisons:
       • Designation to the Eastern District of Virginia.


 ☒ The defendant is remanded to the custody of the United States Marshal.


                                                          RETURN
I have executed this judgment as follows:




Defendant delivered on ________________________________________ to ________________________________________

at ________________________________________, with a certified copy of this judgment.


                                                             ___________________________________________
                                                             UNITED STATES MARSHAL


                                                             ___________________________________________
                                                             DEPUTY UNITED STATES MARSHAL
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DEFENDANT:                BLAKE KELLY
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                                                  SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of three (3) years.
This term consists of three years as to Count 1 and one year as to Count 5, all such terms to run concurrently.


                                              MANDATORY CONDITIONS

 1. You must not commit another federal, state or local crime.
 2. You must not unlawfully possess a controlled substance.
 3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test
    within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined
    by the court.
         ☐ The above drug testing condition is suspended, based on the court's determination that you pose
              a low risk of future substance abuse. (check if applicable)
 4. ☒ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute
         authorizing a sentence of restitution. (check if applicable)
 5. ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if
         applicable)
 6. ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34
         U.S.C. § 20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex
         offender registration agency in which you reside, work, are a student, or were convicted of a
         qualifying offense. (check if applicable)
 7. ☐ You must participate in an approved program for domestic violence. (check if applicable)

          You must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.
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DEFENDANT:                 BLAKE KELLY
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                                     STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. I understand additional information regarding these conditions is available at
www.flsp.uscourts.gov.




 Defendant’s Signature                                                                             Date
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DEFENDANT:                BLAKE KELLY
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                                     SPECIAL CONDITIONS OF SUPERVISION

Association Restriction: The defendant is prohibited from associating with Justin Bieber, Post Malone, Billie
Eilish, J.R., or co-defendant Terronce Morris, while on probation/supervised release.

Employment Requirement: The defendant shall maintain full-time, legitimate employment and not be
unemployed for a term of more than 30 days unless excused for schooling, training or other acceptable reasons.
Further, the defendant shall provide documentation including, but not limited to pay stubs, contractual
agreements, W-2 Wage and Earnings Statements, and other documentation requested by the U.S. Probation
Officer.

Financial Disclosure Requirement: The defendant shall provide complete access to financial information,
including disclosure of all business and personal finances, to the U.S. Probation Officer.

No New Debt Restriction: The defendant shall not apply for, solicit or incur any further debt, included but not
limited to loans, lines of credit or credit card charges, either as a principal or cosigner, as an individual or through
any corporate entity, without first obtaining permission from the United States Probation Officer.

Permissible Search: The defendant shall submit to a search of his/her person or property conducted in a
reasonable manner and at a reasonable time by the U.S. Probation Officer.

Related Concern Restriction: The defendant shall not own, operate, act as a consultant, be employed in, or
participate in any manner, in any related concern during the period of supervision.

Self-Employment Restriction: The defendant shall obtain prior written approval from the Court before entering
into any self-employment.

Unpaid Restitution, Fines, or Special Assessments: If the defendant has any unpaid amount of restitution, fines,
or special assessments, the defendant shall notify the probation officer of any material change in the defendant's
economic circumstances that might affect the defendant's ability to pay.
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DEFENDANT:                   BLAKE KELLY
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                                             CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments page.

                          Assessment                Restitution                   Fine        AVAA Assessment*            JVTA Assessment**
 TOTALS                      $200.00              $1,350,000.00                   $.00



 ☒       The Defendant must make restitution (including community restitution) to the following payees in
         the amount listed below.

                 If the Defendant makes a partial payment, each payee shall receive an approximately proportioned
                 payment. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid before
                 the United States is paid.


NAME OF PAYEE                                                              TOTAL LOSS***                 RESTITUTION ORDERED
Clerk, U.S. District Court                                                 $1,350,000.00                 $1,350,000.00

Restitution with Imprisonment - It is further ordered that the defendant shall pay restitution in the amount of
$1,350,000.00. Restitution is owed on a joint and several basis with Co-Defendant Terronce Morris. During the
period of incarceration, payment shall be made as follows: (1) if the defendant earns wages in a Federal Prison
Industries (UNICOR) job, then the defendant must pay 50% of wages earned toward the financial obligations
imposed by this Judgment in a Criminal Case; (2) if the defendant does not work in a UNICOR job, then the
defendant must pay a minimum of $25.00 per quarter toward the financial obligations imposed in this order. Upon
release of incarceration, the defendant shall pay restitution at the rate of 10% of monthly gross earnings, until
such time as the court may alter that payment schedule in the interests of justice. The U.S. Bureau of Prisons,
U.S. Probation Office and U.S. Attorney’s Office shall monitor the payment of restitution and report to the court
any material change in the defendant’s ability to pay. These payments do not preclude the government from using
other assets or income of the defendant to satisfy the restitution obligations.
* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, 18 U.S.C. §2259.
** Justice for Victims of Trafficking Act of 2015, 18 U.S.C. §3014.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A      ☒ Lump sum payments of $200.00 due immediately.

It is ordered that the Defendant shall pay to the United States a special assessment of $200.00 for Counts 1 and
5, which shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court.
Payment is to be addressed to:

          U.S. CLERK’S OFFICE
          ATTN: FINANCIAL SECTION
          400 NORTH MIAMI AVENUE, ROOM 8N09
          MIAMI, FLORIDA 33128-7716

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
court.

The Defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.

 ☒ Joint and Several
   Defendant and Co-Defendant Names and Case Numbers (including Defendant number), Total Amount,
   Joint and Several Amount, and corresponding payee, if appropriate.

CASE NUMBER
                                                                                                             JOINT AND SEVERAL
DEFENDANT AND CO-DEFENDANT NAMES                                              TOTAL AMOUNT
                                                                                                             AMOUNT
(INCLUDING DEFENDANT NUMBER)
0:23-CR-60118-RAR(1), Terronce Morris                                         $1,350,000.00                  $1,350,000.00

 ☒ The defendant shall forfeit the defendant’s interest in the following property to the United States:
   The Defendant’s right, title and interest to the property identified in the preliminary order of
   forfeiture dated March 12, 2024, [ECF No. 81], which has been entered by the Court and is
   incorporated by reference herein, is hereby forfeited.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.
